Case 12-40518   Doc 265   Filed 11/07/18 Entered 11/07/18 15:24:16   Desc Main
                           Document     Page 1 of 22
Case 12-40518   Doc 265   Filed 11/07/18 Entered 11/07/18 15:24:16   Desc Main
                           Document     Page 2 of 22
Case 12-40518   Doc 265   Filed 11/07/18 Entered 11/07/18 15:24:16   Desc Main
                           Document     Page 3 of 22
Case 12-40518   Doc 265   Filed 11/07/18 Entered 11/07/18 15:24:16   Desc Main
                           Document     Page 4 of 22
      EXHIBIT A                                                                                                                                                       Page No: 1
                                                                                           FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-40518-JTL                                                                                       Trustee Name:                           Walter W. Kelley
 Case Name:                       HOLLEY Jr., DANIEL F                                                                               Bank Name:                              Bank of Texas
Primary Taxpayer ID #:            **-***5344                                                                                         Checking Acct #:                        ******1165
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                          Checking
For Period Beginning:             6/4/2012                                                                                           Blanket bond (per case limit):          $7,575,000.00
For Period Ending:                11/7/2018                                                                                          Separate bond (if applicable):

       1                2                                3                                        4                                                        5                       6               7

   Transaction       Check /                         Paid to/            Description of Transaction                                   Uniform           Deposit            Disbursement          Balance
                                                                                                                                                                                                                               Case 12-40518




      Date            Ref. #                      Received From                                                                      Tran Code            $                     $


07/24/2015            (14)     Frank Wilensky/Daniel Holley       turnover of funds from trust account per order of 7/21/15           1129-000          $21,500.00                                 $21,500.00
                                                                  #178
                                                                                                                                                                                                                               Doc 265




07/31/2015                     Bank of Texas                      Account Analysis Fee                                                2600-000                                           $5.55     $21,494.45
08/20/2015                     PRIME CHOICE RENTALS               August net rental income for 504 Gatehouse Condo,                      *                $830.00                                  $22,324.45
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross rental income                                $1,205.00        1122-000                                                     $22,324.45
                                                                  HOA fees                                               $(250.00)    2420-000                                                     $22,324.45
                                                                                                                                                                                                            Document




                                                                  Management fees                                        $(125.00)    3991-000                                                     $22,324.45
08/31/2015                     Bank of Texas                      Account Analysis Fee                                                2600-000                                          $35.02     $22,289.43
09/15/2015                     Prime Choice Rentals               September net rental income for 504 Gatehouse Condo,                   *                $875.00                                  $23,164.43
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross rental income                                $1,250.00        1122-000                                                     $23,164.43
                                                                  HOA Fees                                               $(250.00)    2420-000                                                     $23,164.43
                                                                                                                                                                                                                         Page 5 of 22




                                                                  Management fees                                        $(125.00)    3991-000                                                     $23,164.43
09/30/2015                     Bank of Texas                      Account Analysis Fee                                                2600-000                                          $35.44     $23,128.99
10/15/2015                     VOL Rentals LLC                    October net rental income for 504 Gatehouse Condo,                     *                $830.00                                  $23,958.99
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross rental income                                $1,200.00        1122-000                                                     $23,958.99
                                                                                                                                                                                                           Filed 11/07/18 Entered 11/07/18 15:24:16




                                                                  HOA Fees                                               $(250.00)    2420-000                                                     $23,958.99
                                                                  Management fees                                        $(120.00)    3991-000                                                     $23,958.99
10/30/2015                     Bank of Texas                      Account Analysis Fee                                                2600-000                                          $37.88     $23,921.11
11/25/2015                     Vol Rentals, LLC                   November net rental income for 504 Gatehouse Condo,                    *                $875.00                                  $24,796.11
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                                                                                                                                                                                                                               Desc Main




                      {19}                                        Gross rental income                                $1,250.00        1122-000                                                     $24,796.11
                                                                  HOA fees                                               $(250.00)    2420-000                                                     $24,796.11
                                                                  Management fees                                        $(125.00)    3991-000                                                     $24,796.11
11/30/2015                     Bank of Texas                      Account Analysis Fee                                                2600-000                                          $37.35     $24,758.76
                                                                                                                                     SUBTOTALS          $24,910.00                     $151.24
                                                                                                                                                                     Page No: 2
                                                                                             FORM 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          12-40518-JTL                                                                                     Trustee Name:                           Walter W. Kelley
 Case Name:                        HOLLEY Jr., DANIEL F                                                                             Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***5344                                                                                       Checking Acct #:                        ******1165
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                          Checking
For Period Beginning:              6/4/2012                                                                                         Blanket bond (per case limit):          $7,575,000.00
For Period Ending:                 11/7/2018                                                                                        Separate bond (if applicable):

       1                2                                     3                                    4                                                     5                        6               7

   Transaction       Check /                           Paid to/            Description of Transaction                                Uniform           Deposit            Disbursement          Balance
                                                                                                                                                                                                                              Case 12-40518




      Date            Ref. #                        Received From                                                                   Tran Code            $                     $


12/31/2015                     Bank of Texas                        Account Analysis Fee                                             2600-000                                          $39.94     $24,718.82
01/13/2016                     VOL Rentals, LLC                     January net rental income for 504 Gatehouse Condo,                  *                $830.00                                  $25,548.82
                                                                                                                                                                                                                              Doc 265




                                                                    Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                    docket #194)
                      {19}                                          Gross Rental Income                                $1,200.00     1122-000                                                     $25,548.82
                                                                    January HOA fees                                    $(250.00)    2420-000                                                     $25,548.82
                                                                    Management Fees                                     $(120.00)    3991-000                                                     $25,548.82
01/29/2016                     Bank of Texas                        Account Analysis Fee                                             2600-000                                          $40.51     $25,508.31
                                                                                                                                                                                                           Document




02/08/2016           1001      International Sureties LTD .         Ch. 7 Bond Payment, Bond #016027943                              2300-000                                          $11.82     $25,496.49
02/16/2016                     Vol Rentals, LLC                     February net rental income for 504 Gatehouse Condo,                 *                $700.01                                  $26,196.50
                                                                    Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                    docket #194)
                      {19}                                          Gross rental income                                 $1,200.00    1122-000                                                     $26,196.50
                                                                    Management fees                                     $(120.00)    3991-000                                                     $26,196.50
                                                                    HOA fees                                            $(250.00)    2420-000                                                     $26,196.50
                                                                                                                                                                                                                        Page 6 of 22




                                                                    Maintenance and repair                              $(129.99)    2420-000                                                     $26,196.50
02/29/2016                     Bank of Texas                        Account Analysis Fee                                             2600-000                                          $38.82     $26,157.68
03/15/2016                     Prime Choice Rentals                 December net rental income for 504 Gatehouse Condo,                 *                $830.00                                  $26,987.68
                                                                    Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                    docket #194)
                      {19}                                          Gross Rental Income (December's is                 $1,200.00     1122-000                                                     $26,987.68
                                                                                                                                                                                                          Filed 11/07/18 Entered 11/07/18 15:24:16




                                                                    posted in March because check from
                                                                    company was lost in the mail and
                                                                    reissued)
                                                                    Management fees                                     $(120.00)    3991-000                                                     $26,987.68
                                                                    HOA fees                                            $(250.00)    2420-000                                                     $26,987.68
                                                                                                                                                                                                                              Desc Main




                                                                                                                                    SUBTOTALS           $2,360.01                     $131.09
                                                                                                                                                                  Page No: 3
                                                                                           FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-40518-JTL                                                                                   Trustee Name:                           Walter W. Kelley
 Case Name:                       HOLLEY Jr., DANIEL F                                                                           Bank Name:                              Bank of Texas
Primary Taxpayer ID #:            **-***5344                                                                                     Checking Acct #:                        ******1165
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                          Checking
For Period Beginning:             6/4/2012                                                                                       Blanket bond (per case limit):          $7,575,000.00
For Period Ending:                11/7/2018                                                                                      Separate bond (if applicable):

       1                2                              3                                         4                                                    5                        6               7

   Transaction       Check /                         Paid to/            Description of Transaction                               Uniform           Deposit            Disbursement          Balance
                                                                                                                                                                                                                           Case 12-40518




      Date            Ref. #                      Received From                                                                  Tran Code            $                     $


03/18/2016                     Vol Rentals, LLC                   March net rental income for 504 Gatehouse Condo,                   *                $830.04                                  $27,817.72
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                                                                                                                                                                                                                           Doc 265




                      {19}                                        Gross Rental Income                                $1,200.04    1122-000                                                     $27,817.72
                                                                  Management fees                                    $(120.00)    3991-000                                                     $27,817.72
                                                                  HOA fees                                           $(250.00)    2420-000                                                     $27,817.72
03/31/2016                     Bank of Texas                      Account Analysis Fee                                            2600-000                                          $43.16     $27,774.56
04/19/2016                     Vol Rentals, LLC                   April net rental income for 504 Gatehouse Condo,                   *                $875.00                                  $28,649.56
                                                                                                                                                                                                        Document




                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross Rental Income                                $1,250.00    1122-000                                                     $28,649.56
                                                                  Management fees                                    $(125.00)    3991-000                                                     $28,649.56
                                                                  HOA fees                                           $(250.00)    2420-000                                                     $28,649.56
04/29/2016                     Bank of Texas                      Account Analysis Fee                                            2600-000                                          $43.70     $28,605.86
05/16/2016                     Vol Rentals, LLC                   May net rental income for 504 Gatehouse Condo,                     *                $800.00                                  $29,405.86
                                                                                                                                                                                                                     Page 7 of 22




                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross Rental Income                                $1,250.00    1122-000                                                     $29,405.86
                                                                  Management fees                                    $(125.00)    3991-000                                                     $29,405.86
                                                                  HOA fees                                           $(250.00)    2420-000                                                     $29,405.86
                                                                  Maintenance and repair                              $(75.00)    2420-000                                                     $29,405.86
                                                                                                                                                                                                       Filed 11/07/18 Entered 11/07/18 15:24:16




05/31/2016                     Bank of Texas                      Account Analysis Fee                                            2600-000                                          $46.61     $29,359.25
06/14/2016                     Vol Rentals                        June net rental income for 504 Gatehouse Condo,                    *                $875.00                                  $30,234.25
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross Rental Income                                $1,250.00    1122-000                                                     $30,234.25
                                                                  Management fees                                    $(125.00)    3991-000                                                     $30,234.25
                                                                                                                                                                                                                           Desc Main




                                                                  HOA fees                                           $(250.00)    2420-000                                                     $30,234.25
06/30/2016                     Bank of Texas                      Account Analysis Fee                                            2600-000                                          $46.40     $30,187.85




                                                                                                                                 SUBTOTALS           $3,380.04                     $179.87
                                                                                                                                                                  Page No: 4
                                                                                          FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-40518-JTL                                                                                   Trustee Name:                           Walter W. Kelley
 Case Name:                       HOLLEY Jr., DANIEL F                                                                           Bank Name:                              Bank of Texas
Primary Taxpayer ID #:            **-***5344                                                                                     Checking Acct #:                        ******1165
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                          Checking
For Period Beginning:             6/4/2012                                                                                       Blanket bond (per case limit):          $7,575,000.00
For Period Ending:                11/7/2018                                                                                      Separate bond (if applicable):

       1                2                              3                                         4                                                    5                        6               7

   Transaction       Check /                         Paid to/            Description of Transaction                               Uniform           Deposit            Disbursement          Balance
                                                                                                                                                                                                                           Case 12-40518




      Date            Ref. #                      Received From                                                                  Tran Code            $                     $


07/15/2016                     Vol Rentals, LLC                   July net rental income for 504 Gatehouse Condo,                    *                $654.00                                  $30,841.85
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                                                                                                                                                                                                                           Doc 265




                      {19}                                        Gross Rental                                       $1,300.00    1122-000                                                     $30,841.85
                                                                  Management fees                                    $(130.00)    3991-000                                                     $30,841.85
                                                                  HOA fees                                           $(250.00)    2420-000                                                     $30,841.85
                                                                  Cleaning and maintenance                           $(266.00)    2420-000                                                     $30,841.85
07/29/2016                     Bank of Texas                      Account Analysis Fee                                            2600-000                                          $49.01     $30,792.84
                                                                                                                                                                                                        Document




08/15/2016                     Vol Rentals, LLC                   August net rental income for 504 Gatehouse Condo,                  *                $760.00                                  $31,552.84
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross Rental Income                                $1,300.00    1122-000                                                     $31,552.84
                                                                  Management fee                                     $(130.00)    3991-000                                                     $31,552.84
                                                                  HOA fees                                           $(250.00)    2420-000                                                     $31,552.84
                                                                  Cleaning and Maintenance                           $(160.00)    2420-000                                                     $31,552.84
                                                                                                                                                                                                                     Page 8 of 22




08/31/2016                     Bank of Texas                      Account Analysis Fee                                            2600-000                                          $50.14     $31,502.70
09/13/2016                     Vol Rentals, LLC                   September net rental income for 504 Gatehouse Condo,               *                $806.00                                  $32,308.70
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross Rental Income                                $1,300.00    1122-000                                                     $32,308.70
                                                                  Management fee                                     $(130.00)    3991-000                                                     $32,308.70
                                                                                                                                                                                                       Filed 11/07/18 Entered 11/07/18 15:24:16




                                                                  HOA fees                                           $(250.00)    2420-000                                                     $32,308.70
                                                                  Cleaning and Maintenance                           $(114.00)    2420-000                                                     $32,308.70
09/30/2016                     Bank of Texas                      Account Analysis Fee                                            2600-000                                          $49.73     $32,258.97
10/18/2016                     Vol Rentals, LLC                   October net rental income for 504 Gatehouse Condo,                 *                $920.00                                  $33,178.97
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                                                                                                                                                                                                                           Desc Main




                      {19}                                        Gross rental income                                $1,300.00    1122-000                                                     $33,178.97
                                                                  HOA fees                                           $(250.00)    2420-000                                                     $33,178.97
                                                                  Management fees                                    $(130.00)    3991-000                                                     $33,178.97
10/31/2016                     Bank of Texas                      Account Analysis Fee                                            2600-000                                          $52.48     $33,126.49
                                                                                                                                 SUBTOTALS           $3,140.00                     $201.36
                                                                                                                                                                    Page No: 5
                                                                                               FORM 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          12-40518-JTL                                                                                    Trustee Name:                           Walter W. Kelley
 Case Name:                        HOLLEY Jr., DANIEL F                                                                            Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***5344                                                                                      Checking Acct #:                        ******1165
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                          Checking
For Period Beginning:              6/4/2012                                                                                        Blanket bond (per case limit):          $7,575,000.00
For Period Ending:                 11/7/2018                                                                                       Separate bond (if applicable):

       1                2                                     3                                       4                                                 5                        6               7

   Transaction       Check /                           Paid to/             Description of Transaction                              Uniform           Deposit            Disbursement          Balance
                                                                                                                                                                                                                             Case 12-40518




      Date            Ref. #                        Received From                                                                  Tran Code            $                     $


11/15/2016                     Vol Rentals, LLC                     November net rental income for 504 Gatehouse Condo,                *                $920.00                                  $34,046.49
                                                                    Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                    docket #194)
                                                                                                                                                                                                                             Doc 265




                      {19}                                          Gross rental income                                $1,300.00    1122-000                                                     $34,046.49
                                                                    HOA fees                                           $(250.00)    2420-000                                                     $34,046.49
                                                                    Management fees                                    $(130.00)    3991-000                                                     $34,046.49
11/30/2016                     Bank of Texas                        Account Analysis Fee                                            2600-000                                          $52.25     $33,994.24
12/14/2016                     Vol Rentals, LLC                     December net rental income for 504 Gatehouse Condo,                *                $795.00                                  $34,789.24
                                                                                                                                                                                                          Document




                                                                    Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                    docket #194)
                      {19}                                          Gross rental income                                $1,300.00    1122-000                                                     $34,789.24
                                                                    HOA fees                                           $(250.00)    2420-000                                                     $34,789.24
                                                                    Management fees                                    $(130.00)    3991-000                                                     $34,789.24
                                                                    Deep clean (smoke from Gatlenburg fires)           $(125.00)    2420-000                                                     $34,789.24
12/30/2016                     Bank of Texas                        Account Analysis Fee                                            2600-000                                          $55.23     $34,734.01
                                                                                                                                                                                                                       Page 9 of 22




01/10/2017           1002      International Sureties LTD .         Ch. 7 Bond Payment, Bond #016027943                             2300-000                                          $12.73     $34,721.28
                                                                    Term: 01/01/17 to 01/01/18
01/17/2017                     Vol Rentals, LLC                     January net rental income for 504 Gatehouse Condo,                 *                $885.00                                  $35,606.28
                                                                    Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                    docket #194)
                      {19}                                          Gross rental income                                $1,300.00    1122-000                                                     $35,606.28
                                                                                                                                                                                                         Filed 11/07/18 Entered 11/07/18 15:24:16




                                                                    HOA fees                                           $(250.00)    2420-000                                                     $35,606.28
                                                                    Management fees                                    $(130.00)    3991-000                                                     $35,606.28
                                                                    A/C leak repair, clean air return/filter            $(35.00)    2420-000                                                     $35,606.28
01/31/2017                     Bank of Texas                        Account Analysis Fee                                            2600-000                                          $56.63     $35,549.65
                                                                                                                                                                                                                             Desc Main




                                                                                                                                   SUBTOTALS           $2,600.00                     $176.84
                                                                                                                                                                    Page No: 6
                                                                                           FORM 2
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-40518-JTL                                                                                     Trustee Name:                           Walter W. Kelley
 Case Name:                       HOLLEY Jr., DANIEL F                                                                             Bank Name:                              Bank of Texas
Primary Taxpayer ID #:            **-***5344                                                                                       Checking Acct #:                        ******1165
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                          Checking
For Period Beginning:             6/4/2012                                                                                         Blanket bond (per case limit):          $7,575,000.00
For Period Ending:                11/7/2018                                                                                        Separate bond (if applicable):

       1                2                               3                                         4                                                     5                        6               7

   Transaction       Check /                          Paid to/            Description of Transaction                                Uniform           Deposit            Disbursement          Balance
                                                                                                                                                                                                                             Case 12-40518




      Date            Ref. #                       Received From                                                                   Tran Code            $                     $


02/15/2017                     Vol Rentals, LLC                    February net rental income for 504 Gatehouse Condo,                 *                $630.00                                  $36,179.65
                                                                   Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                   docket #194)
                                                                                                                                                                                                                             Doc 265




                      {19}                                         Gross rental income                                 $1,300.00    1122-000                                                     $36,179.65
                                                                   HOA fees                                            $(250.00)    2420-000                                                     $36,179.65
                                                                   Management fees                                     $(130.00)    3991-000                                                     $36,179.65
                                                                   Cleaning & Maintenance - Installed new              $(290.00)    2420-000                                                     $36,179.65
                                                                   upper & lower thermostats and hot water
                                                                                                                                                                                                         Document




                                                                   heater; repaired drywall bathroom leak
02/28/2017                     Bank of Texas                       Account Analysis Fee                                             2600-000                                          $52.20     $36,127.45
03/15/2017                     Vol Rentals, LLC                    March net rental income for 504 Gatehouse Condo,                    *                $920.00                                  $37,047.45
                                                                   Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                   docket #194)
                      {19}                                         Gross rental income                                $1,300.00     1122-000                                                     $37,047.45
                                                                   HOA fees                                            $(250.00)    2420-000                                                     $37,047.45
                                                                                                                                                                                                                       Page 10 of 22




                                                                   Management fees                                     $(130.00)    3991-000                                                     $37,047.45
03/31/2017                     Bank of Texas                       Account Analysis Fee                                             2600-000                                          $59.01     $36,988.44
04/20/2017                     Vols Rentals, LLC                   April net rental income for 504 Gatehouse Condo,                    *                $920.00                                  $37,908.44
                                                                   Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                   docket #194)
                      {19}                                         Gross Rental Income                                $1,300.00     1122-000                                                     $37,908.44
                                                                   HOA Fees                                            $(250.00)    2420-000                                                     $37,908.44
                                                                                                                                                                                                         Filed 11/07/18 Entered 11/07/18 15:24:16




                                                                   Management fees                                     $(130.00)    3991-000                                                     $37,908.44
04/28/2017                     Bank of Texas                       Account Analysis Fee                                             2600-000                                          $58.09     $37,850.35
05/15/2017                     Vols Rentals, LLC                   May net rental income for 504 Gatehouse Condo,                      *                $920.00                                  $38,770.35
                                                                   Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                   docket #194)
                                                                                                                                                                                                                             Desc Main




                      {19}                                         Gross Rental Income                                $1,300.00     1122-000                                                     $38,770.35
                                                                   Management fees                                     $(130.00)    3991-000                                                     $38,770.35
                                                                   HOA Fees                                            $(250.00)    2420-000                                                     $38,770.35
05/31/2017                     Bank of Texas                       Account Analysis Fee                                             2600-000                                          $61.74     $38,708.61

                                                                                                                                   SUBTOTALS           $3,390.00                     $231.04
                                                                                                                                                                  Page No: 7
                                                                                            FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-40518-JTL                                                                                   Trustee Name:                           Walter W. Kelley
 Case Name:                       HOLLEY Jr., DANIEL F                                                                           Bank Name:                              Bank of Texas
Primary Taxpayer ID #:            **-***5344                                                                                     Checking Acct #:                        ******1165
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                          Checking
For Period Beginning:             6/4/2012                                                                                       Blanket bond (per case limit):          $7,575,000.00
For Period Ending:                11/7/2018                                                                                      Separate bond (if applicable):

       1                2                              3                                           4                                                  5                        6              7

   Transaction       Check /                         Paid to/            Description of Transaction                               Uniform           Deposit            Disbursement         Balance
                                                                                                                                                                                                                          Case 12-40518




      Date            Ref. #                      Received From                                                                  Tran Code            $                     $


06/14/2017                     Vol Rentals LLC                    June net rental income for 504 Gatehouse Condo,                    *                $870.00                                 $39,578.61
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                                                                                                                                                                                                                          Doc 265




                      {19}                                        Gross Rental Income                                $1,300.00    1122-000                                                    $39,578.61
                                                                  Management fees                                    $(130.00)    3991-000                                                    $39,578.61
                                                                  HOA fees                                           $(250.00)    2420-000                                                    $39,578.61
                                                                  Cleaning and Maintenance                            $(50.00)    2420-000                                                    $39,578.61
06/30/2017                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $61.12     $39,517.49
                                                                                                                                                                                                      Document




07/18/2017                     Vol Rentals LLC                    July net rental income for 504 Gatehouse Condo,                    *                $620.00                                 $40,137.49
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross Rental Incom                                 $1,300.00    1122-000                                                    $40,137.49
                                                                  Management fees                                    $(130.00)    3991-000                                                    $40,137.49
                                                                  HOA fees                                           $(250.00)    2420-000                                                    $40,137.49
                                                                  A/C leak, ceiling repair/ painting                 $(300.00)    2420-000                                                    $40,137.49
                                                                                                                                                                                                                    Page 11 of 22




07/31/2017                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $64.15     $40,073.34
08/14/2017                     Vol Rentals, LLC                   August net rental income for 504 Gatehouse Condo,                  *                $545.00                                 $40,618.34
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross Rental Income                                $1,300.00    1122-000                                                    $40,618.34
                                                                  Management fees                                    $(130.00)    3991-000                                                    $40,618.34
                                                                                                                                                                                                      Filed 11/07/18 Entered 11/07/18 15:24:16




                                                                  HOA fees                                           $(250.00)    2420-000                                                    $40,618.34
                                                                  Maintenance & Repairs                              $(375.00)    2420-000                                                    $40,618.34
08/31/2017                     Bank of Texas                      Account Analysis Fee                                            2600-000                                         $65.12     $40,553.22
09/12/2017                     Green Bank                         Transfer Funds                                                  9999-000                                     $40,553.22             $0.00
                                                                                                                                                                                                                          Desc Main




                                                                                                                                 SUBTOTALS           $2,035.00                 $40,743.61
                                                                                                                                                                  Page No: 8
                                                                                         FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          12-40518-JTL                                                                                 Trustee Name:                             Walter W. Kelley
Case Name:                        HOLLEY Jr., DANIEL F                                                                         Bank Name:                                Bank of Texas
Primary Taxpayer ID #:            **-***5344                                                                                   Checking Acct #:                          ******1165
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                            Checking
For Period Beginning:             6/4/2012                                                                                     Blanket bond (per case limit):            $7,575,000.00
For Period Ending:                11/7/2018                                                                                    Separate bond (if applicable):

      1                 2                                3                                      4                                                      5                       6              7

  Transaction        Check /                         Paid to/           Description of Transaction                              Uniform           Deposit              Disbursement         Balance
                                                                                                                                                                                                                          Case 12-40518




     Date             Ref. #                      Received From                                                                Tran Code            $                       $


                                                                                  TOTALS:                                                            $41,815.05                $41,815.05             $0.00
                                                                                      Less: Bank transfers/CDs                                            $0.00                $40,553.22
                                                                                  Subtotal                                                           $41,815.05                 $1,261.83
                                                                                                                                                                                                                          Doc 265




                                                                                      Less: Payments to debtors                                           $0.00                     $0.00
                                                                                  Net                                                                $41,815.05                 $1,261.83



                     For the period of 6/4/2012 to 11/7/2018                                                For the entire history of the account between 07/07/2015 to 11/7/2018
                                                                                                                                                                                                      Document




                     Total Compensable Receipts:                  $53,155.04                                Total Compensable Receipts:                                    $53,155.04
                     Total Non-Compensable Receipts:                   $0.00                                Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                $53,155.04                                Total Comp/Non Comp Receipts:                                  $53,155.04
                     Total Internal/Transfer Receipts:                 $0.00                                Total Internal/Transfer Receipts:                                   $0.00


                     Total Compensable Disbursements:             $12,601.82                                Total Compensable Disbursements:                               $12,601.82
                     Total Non-Compensable Disbursements:              $0.00                                Total Non-Compensable Disbursements:                                $0.00
                     Total Comp/Non Comp Disbursements:           $12,601.82                                Total Comp/Non Comp Disbursements:                             $12,601.82
                                                                                                                                                                                                                    Page 12 of 22




                     Total Internal/Transfer Disbursements:       $40,553.22                                Total Internal/Transfer Disbursements:                         $40,553.22
                                                                                                                                                                                                      Filed 11/07/18 Entered 11/07/18 15:24:16
                                                                                                                                                                                                                          Desc Main
                                                                                                                                                                      Page No: 9
                                                                                            FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                            12-40518-JTL                                                                                    Trustee Name:                           Walter W. Kelley
 Case Name:                          HOLLEY Jr., DANIEL F                                                                            Bank Name:                              Green Bank
Primary Taxpayer ID #:               **-***5344                                                                                      Checking Acct #:                        ******1801
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                          DDA
For Period Beginning:                6/4/2012                                                                                        Blanket bond (per case limit):          $7,575,000.00
For Period Ending:                   11/7/2018                                                                                       Separate bond (if applicable):

       1                2                               3                                         4                                                        5                       6               7

   Transaction       Check /                         Paid to/            Description of Transaction                                   Uniform           Deposit            Disbursement          Balance
                                                                                                                                                                                                                               Case 12-40518




      Date            Ref. #                      Received From                                                                      Tran Code            $                     $


09/12/2017                     Bank of Texas                      Transfer Funds                                                      9999-000          $40,553.22                                 $40,553.22
09/15/2017                     Vol                                September net rental income for 504 Gatehouse Condo,                   *                $892.50                                  $41,445.72
                                                                                                                                                                                                                               Doc 265




                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross rental income                                $1,300.00        1122-000                                                     $41,445.72
                                                                  HOA fees                                            $(250.00)       2420-000                                                     $41,445.72
                                                                  Management fees                                     $(130.00)       3991-000                                                     $41,445.72
                                                                  No-smoking signs installation                           $(27.50)    2420-000                                                     $41,445.72
                                                                                                                                                                                                           Document




09/29/2017                     Green Bank                         Bank Service Fee                                                    2600-000                                          $43.70     $41,402.02
10/23/2017                     Vol Rentals, LLC                   October net rental income for 504 Gatehouse Condo,                     *                $535.59                                  $41,937.61
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
                      {19}                                        Gross rental income                                $1,300.00        1122-000                                                     $41,937.61
                                                                  HOA fees                                            $(250.00)       2420-000                                                     $41,937.61
                                                                  Management fees                                     $(130.00)       3991-000                                                     $41,937.61
                                                                                                                                                                                                                         Page 13 of 22




                                                                  Service Call/Water leak                                 $(50.00)    2420-000                                                     $41,937.61
                                                                  Replacement of main water valve in                  $(334.41)       2420-000                                                     $41,937.61
                                                                  kitchen
10/31/2017                     Green Bank                         Bank Service Fee                                                    2600-000                                          $64.90     $41,872.71
11/16/2017                     Vol Rentals, LLC                   November net rental income for 504 Gatehouse Condo,                    *                $810.00                                  $42,682.71
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                                                                                                                                                           Filed 11/07/18 Entered 11/07/18 15:24:16




                                                                  docket #194)
                      {19}                                        Gross Rental incom                                 $1,300.00        1122-000                                                     $42,682.71
                                                                  HOA fees                                            $(250.00)       2420-000                                                     $42,682.71
                                                                  Management fees                                     $(130.00)       3991-000                                                     $42,682.71
                                                                  Deep clean / change owner locks                     $(110.00)       2420-000                                                     $42,682.71
11/30/2017                     Green Bank                         Bank Service Fee                                                    2600-000                                          $65.98     $42,616.73
                                                                                                                                                                                                                               Desc Main




12/14/2017            (19)     Vol Rentals                        December net rental income for 504 Gatehouse Condo,                 1122-000            $160.00                                  $42,776.73
                                                                  Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                  docket #194)
12/29/2017                     Green Bank                         Bank Service Fee                                                    2600-000                                          $68.92     $42,707.81
                                                                                                                                     SUBTOTALS          $42,951.31                     $243.50
                                                                                                                                                                     Page No: 10
                                                                                             FORM 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          12-40518-JTL                                                                                     Trustee Name:                           Walter W. Kelley
 Case Name:                        HOLLEY Jr., DANIEL F                                                                             Bank Name:                              Green Bank
Primary Taxpayer ID #:             **-***5344                                                                                       Checking Acct #:                        ******1801
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                          DDA
For Period Beginning:              6/4/2012                                                                                         Blanket bond (per case limit):          $7,575,000.00
For Period Ending:                 11/7/2018                                                                                        Separate bond (if applicable):

       1                2                                     3                                     4                                                    5                     6                 7

   Transaction       Check /                           Paid to/             Description of Transaction                               Uniform           Deposit            Disbursement         Balance
                                                                                                                                                                                                                             Case 12-40518




      Date            Ref. #                        Received From                                                                   Tran Code            $                     $


01/18/2018                     Vol Rentals                          January net rental income for 504 Gatehouse Condo,                  *                $920.00                                 $43,627.81
                                                                    Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                    docket #194)
                                                                                                                                                                                                                             Doc 265




                      {19}                                          Gross Rental Incom                                 $1,300.00     1122-000                                                    $43,627.81
                                                                    HOA fees                                            $(250.00)    2420-000                                                    $43,627.81
                                                                    Management fees                                     $(130.00)    3991-000                                                    $43,627.81
01/25/2018           5001      International Sureties LTD .         Bond Payment                                                     2300-000                                       $38.52       $43,589.29
01/31/2018                     Green Bank                           Bank Service Fee                                                 2600-000                                       $69.54       $43,519.75
                                                                                                                                                                                                         Document




02/12/2018            (19)     Vol Rentals, LLC                     Remaining balance for December 2017 payment                      1122-000            $500.00                                 $44,019.75
02/14/2018                     Vol Rentals                          February net rental income for 504 Gatehouse Condo,                 *                $820.00                                 $44,839.75
                                                                    Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                    docket #194)
                      {19}                                          Gross Rental Income                                 $1,350.00    1122-000                                                    $44,839.75
                                                                    HOA fees                                            $(300.00)    2420-000                                                    $44,839.75
                                                                    Management fees                                     $(135.00)    3991-000                                                    $44,839.75
                                                                                                                                                                                                                       Page 14 of 22




                                                                    repairs to sink                                      $(95.00)    2420-000                                                    $44,839.75
02/28/2018                     Green Bank                           Bank Service Fee                                                 2600-000                                       $64.49       $44,775.26
03/13/2018                     Vol Rentals                          March net rental income for 504 Gatehouse Condo,                    *                $915.00                                 $45,690.26
                                                                    Gatlinburg, TN. (Property managed per Order 11/19/15,
                                                                    docket #194)
                      {19}                                          Gross Rental Income                                $1,350.00     1122-000                                                    $45,690.26
                                                                                                                                                                                                         Filed 11/07/18 Entered 11/07/18 15:24:16




                                                                    HOA fees                                            $(300.00)    2420-000                                                    $45,690.26
                                                                    Management fees                                     $(135.00)    3991-000                                                    $45,690.26
03/30/2018                     Green Bank                           Bank Service Fee                                                 2600-000                                       $75.53       $45,614.73
04/30/2018                     Green Bank                           Bank Service Fee                                                 2600-000                                       $68.85       $45,545.88
05/31/2018                     Green Bank                           Bank Service Fee                                                 2600-000                                       $73.49       $45,472.39
                                                                                                                                                                                                                             Desc Main




06/29/2018                     Green Bank                           Bank Service Fee                                                 2600-000                                       $73.37       $45,399.02
07/13/2018            (21)     Charles Hardin                       earnest money for condo purchase                                 1180-000          $1,000.00                                 $46,399.02
07/31/2018                     Green Bank                           Bank Service Fee                                                 2600-000                                       $71.72       $46,327.30
08/31/2018                     Green Bank                           Bank Service Fee                                                 2600-000                                       $81.99       $46,245.31

                                                                                                                                    SUBTOTALS           $4,155.00                  $617.50
                                                                                                                                                                        Page No: 11
                                                                                           FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         12-40518-JTL                                                                                         Trustee Name:                           Walter W. Kelley
 Case Name:                       HOLLEY Jr., DANIEL F                                                                                 Bank Name:                              Green Bank
Primary Taxpayer ID #:            **-***5344                                                                                           Checking Acct #:                        ******1801
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:                          DDA
For Period Beginning:             6/4/2012                                                                                             Blanket bond (per case limit):          $7,575,000.00
For Period Ending:                11/7/2018                                                                                            Separate bond (if applicable):

       1                2                                3                                          4                                                        5                    6                 7

   Transaction       Check /                         Paid to/            Description of Transaction                                     Uniform           Deposit            Disbursement         Balance
                                                                                                                                                                                                                                Case 12-40518




      Date            Ref. #                      Received From                                                                        Tran Code            $                     $


09/24/2018                     Smokey Mountain Title              Real estate proceeds per Order of 7/5/17 (#259)                           *             $56,648.65                               $102,893.96
                      {7}                                         1/2 of gross proceeds                                 $65,500.00      1110-000                                                   $102,893.96
                      {20}                                        1/2 of Tax Adjustments                                    $45.00      1290-000
                                                                                                                                                                                                                                Doc 265




                                                                                                                                                                                                   $102,893.96
                                                                  1/2 of 2012-2016 County Taxes                         $(5,494.58)     2820-000                                                   $102,893.96
                                                                  1/2 of 2017 County Taxes                                $(515.50)     2820-000                                                   $102,893.96
                                                                  1/2 of 2012-2017 City Taxes                             $(336.93)     2820-000                                                   $102,893.96
                                                                  1/2 of prorated 2018 City Taxes                          $(28.93)     2820-000                                                   $102,893.96
                                                                  1/2 of prorated 2018 County Taxes                       $(337.41)     2820-000                                                   $102,893.96
                                                                                                                                                                                                            Document




                                                                  1/2 of outstanding HOA fees                             $(900.00)     2420-000                                                   $102,893.96
                                                                  1/2 of earnest money                                    $(500.00)     2500-000                                                   $102,893.96
                                                                  1/2 of 2011 County Taxes                                $(783.00)     4700-000                                                   $102,893.96

                                                                                    TOTALS:                                                               $103,754.96                 $861.00      $102,893.96
                                                                                        Less: Bank transfers/CDs                                           $40,553.22                   $0.00
                                                                                    Subtotal                                                               $63,201.74                 $861.00
                                                                                        Less: Payments to debtors                                               $0.00                   $0.00
                                                                                                                                                                                                                          Page 15 of 22




                                                                                    Net                                                                    $63,201.74                 $861.00



                     For the period of 6/4/2012 to 11/7/2018                                                        For the entire history of the account between 09/12/2017 to 11/7/2018

                     Total Compensable Receipts:                  $75,105.00                                        Total Compensable Receipts:                                  $75,105.00
                     Total Non-Compensable Receipts:                   $0.00                                        Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                $75,105.00                                        Total Comp/Non Comp Receipts:                                $75,105.00
                                                                                                                                                                                                            Filed 11/07/18 Entered 11/07/18 15:24:16




                     Total Internal/Transfer Receipts:            $40,553.22                                        Total Internal/Transfer Receipts:                            $40,553.22


                     Total Compensable Disbursements:             $12,764.26                                        Total Compensable Disbursements:                             $12,764.26
                     Total Non-Compensable Disbursements:              $0.00                                        Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:           $12,764.26                                        Total Comp/Non Comp Disbursements:                           $12,764.26
                                                                                                                                                                                                                                Desc Main




                     Total Internal/Transfer Disbursements:            $0.00                                        Total Internal/Transfer Disbursements:                            $0.00
                                                                                                                                                          Page No: 12
                                                                                          FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         12-40518-JTL                                                                            Trustee Name:                           Walter W. Kelley
Case Name:                       HOLLEY Jr., DANIEL F                                                                    Bank Name:                              Green Bank
Primary Taxpayer ID #:           **-***5344                                                                              Checking Acct #:                        ******1801
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:                          DDA
For Period Beginning:            6/4/2012                                                                                Blanket bond (per case limit):          $7,575,000.00
For Period Ending:               11/7/2018                                                                               Separate bond (if applicable):

      1                 2                                3                                       4                                             5                    6                 7

  Transaction        Check /                         Paid to/            Description of Transaction                       Uniform           Deposit            Disbursement         Balance
                                                                                                                                                                                                                  Case 12-40518




     Date             Ref. #                      Received From                                                          Tran Code            $                     $




                                                                                                                                                                         NET          ACCOUNT
                                                                                                                                                                                                                  Doc 265




                                                                                   TOTAL - ALL ACCOUNTS                           NET DEPOSITS                      DISBURSE         BALANCES

                                                                                                                                          $105,016.79               $2,122.83        $102,893.96
                                                                                                                                                                                              Document




                     For the period of 6/4/2012 to 11/7/2018                                          For the entire history of the case between 04/08/2015 to 11/7/2018

                     Total Compensable Receipts:                  $128,260.04                         Total Compensable Receipts:                                 $128,260.04
                     Total Non-Compensable Receipts:                    $0.00                         Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                $128,260.04                         Total Comp/Non Comp Receipts:                               $128,260.04
                     Total Internal/Transfer Receipts:             $40,553.22                         Total Internal/Transfer Receipts:                            $40,553.22


                     Total Compensable Disbursements:              $25,366.08                         Total Compensable Disbursements:                             $25,366.08
                     Total Non-Compensable Disbursements:               $0.00                         Total Non-Compensable Disbursements:                              $0.00
                                                                                                                                                                                                            Page 16 of 22




                     Total Comp/Non Comp Disbursements:            $25,366.08                         Total Comp/Non Comp Disbursements:                           $25,366.08
                     Total Internal/Transfer Disbursements:        $40,553.22                         Total Internal/Transfer Disbursements:                       $40,553.22
                                                                                                                                                                                              Filed 11/07/18 Entered 11/07/18 15:24:16




                                                                                                                      /s/ WALTER W. KELLEY
                                                                                                                      WALTER W. KELLEY
                                                                                                                                                                                                                  Desc Main
Date       C/P   Cleared On Type       Paid To/From           Receipt     1/2 due       Description
 8/20/2015 Y/Y     8/21/2015 Deposit   PRIME CHOICE RENTALS      $830.00      $415.00   August net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 9/15/2015 Y/Y     9/15/2015 Deposit   Prime Choice Rentals      $875.00      $437.50   September net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
10/15/2015 Y/Y    10/15/2015 Deposit   VOL Rentals LLC           $830.00      $415.00   October net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
11/25/2015 Y/Y    11/30/2015 Deposit   VOL Rentals LLC           $875.00      $437.50   November net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 1/13/2016 Y/Y     1/13/2016 Deposit   VOL Rentals LLC           $830.00      $415.00   January net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 2/16/2016 Y/Y     2/16/2016 Deposit   VOL Rentals LLC           $700.01      $350.01   February net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 3/15/2016 Y/Y     3/15/2016 Deposit   Prime Choice Rentals      $830.00      $415.00   December net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 3/18/2016 Y/Y     3/21/2016 Deposit   Vol Rentals, LLC          $830.04      $415.02   March net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 4/19/2016 Y/Y     4/19/2016 Deposit   Vol Rentals, LLC          $875.00      $437.50   April net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 5/16/2016 Y/Y     5/16/2016 Deposit   Vol Rentals, LLC          $800.00      $400.00   May net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
                                                                                                                                                                                                                                      Case 12-40518




 6/14/2016 Y/Y     6/14/2016 Deposit   Vol Rentals, LLC          $875.00      $437.50   June net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 7/15/2016 Y/Y     7/18/2016 Deposit   Vol Rentals, LLC          $654.00      $327.00   July net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 8/15/2016 Y/Y     8/15/2016 Deposit   Vol Rentals, LLC          $760.00      $380.00   August net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 9/13/2016 Y/Y     9/13/2016 Deposit   Vol Rentals, LLC          $806.00      $403.00   September net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
10/18/2016 Y/Y    10/18/2016 Deposit   Vol Rentals, LLC          $920.00      $460.00   October net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
                                                                                                                                                                                                                                      Doc 265




11/15/2016 Y/Y    11/15/2016 Deposit   Vol Rentals, LLC          $920.00      $460.00   November net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
12/14/2016 Y/Y    12/16/2016 Deposit   Vol Rentals, LLC          $795.00      $397.50   December net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 1/17/2017 Y/Y     1/17/2017 Deposit   Vol Rentals, LLC          $885.00      $442.50   January net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 2/15/2017 Y/Y     2/15/2017 Deposit   Vol Rentals, LLC          $630.00      $315.00   February net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 3/15/2017 Y/Y     3/15/2017 Deposit   Vol Rentals, LLC          $920.00      $460.00   March net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 4/20/2017 Y/Y     4/20/2017 Deposit   Vol Rentals, LLC          $920.00      $460.00   April net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 5/15/2017 Y/Y     5/16/2017 Deposit   Vol Rentals, LLC          $920.00      $460.00   May net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 6/14/2017 Y/Y     6/14/2017 Deposit   Vol Rentals, LLC          $870.00      $435.00   June net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
                                                                                                                                                                                                                  Document




 7/18/2017 Y/Y     7/18/2017 Deposit   Vol Rentals, LLC          $620.00      $310.00   July net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 8/14/2017 Y/Y     8/14/2017 Deposit   Vol Rentals, LLC          $545.00      $272.50   August net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 9/15/2017 Y/Y     9/20/2017 Deposit   Vol Rentals, LLC          $892.50      $446.25   September net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
10/23/2017 Y/Y    10/23/2017 Deposit   Vol Rentals, LLC          $535.59      $267.80   October net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
11/16/2017 Y/Y    11/17/2017 Deposit   Vol Rentals, LLC          $810.00      $405.00   November net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
12/14/2017 Y/Y    12/14/2017 Deposit   Vol Rentals, LLC          $160.00       $80.00   December net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 1/18/2018 Y/Y     1/19/2018 Deposit   Vol Rentals, LLC          $920.00      $460.00   January net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 2/12/2018 Y/N     2/13/2018 Deposit   Vol Rentals, LLC          $500.00      $250.00   Remaining balance for December 2017 payment
 2/14/2018 Y/Y     2/14/2018 Deposit   Vol Rentals, LLC          $820.00      $410.00   February net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
                                                                                                                                                                                                                                Page 17 of 22




 3/13/2018 Y/Y     3/13/2018 Deposit   Vol Rentals, LLC          $915.00      $457.50   March net rental income for 504 Gatehouse Condo, Gatlinburg, TN. (Property managed per Order 11/19/15, docket #194)
 7/13/2018 Y/Y     7/16/2018 Deposit   Charles Hardin           $1,000.00     $500.00   earnest money for condo purchase
                                                               $26,868.14 $13,434.07

                                                              $13,434.07                Net income due to Joy Webster ‐
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